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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

                           STANDING PROTECTIVE ORDER


1.    It is hereby ordered by the Court that the following shall apply to information,
documents, excerpts from documents, and other materials produced in this action
pursuant to Federal and Local Rules of Civil Procedure governing disclosure and
discovery.

2.     Information, documents and other materials may be designated by the producing
party in the manner permitted (“the Designating Person”). All such information,
documents, excerpts from documents, and other materials will constitute “Designated
Material” under this Order. The designation shall be either (a) “CONFIDENTIAL” or (b)
CONFIDENTIAL-ATTORNEYS’ EYES ONLY.” This Order shall apply to Designated
Material produced by any party or third-party in this action.

3.     “CONFIDENTIAL” information means information, documents, or things that have
not been made public by the disclosing party and that the disclosing party reasonably
and in good faith believes contains or comprises (a) trade secrets, (b) proprietary
business information, or (c) information implicating an individual’s legitimate expectation
of privacy.

4.     “CONFIDENTIAL-ATTORNEY’S EYES ONLY” means CONFIDENTIAL
information that the disclosing party reasonably and in good faith believes is so highly
sensitive that its disclosure to a competitor could result in significant competitive or
commercial disadvantage to the designating party.

5.       Designated Material shall not be used or disclosed for any purpose other than
the litigation of this action and may be disclosed only as follows:

   a. Parties: Material designated “CONFIDENTIAL” may be disclosed to parties to
      this action or directors, officers and employees of parties to this action, who have
      a legitimate need to see the information in connection with their responsibilities
      for overseeing the litigation or assisting counsel in preparing the action for trial or
      settlement. Before Designated Material is disclosed for this purpose, each such
      person must agree to be bound by this Order by signing a document substantially
      in the form of Exhibit A.
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   b. Witnesses or Prospective Witnesses: Designated Material, including material
      designated “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed to
      a witness or prospective witness in this action, but only for purposes of testimony
      or preparation of testimony in this case, whether at trial, hearing, or deposition,
      but it may not be retained by the witness or prospective witness. Before
      Designated Material is disclosed for this purpose, each such person must agree
      to be bound by this Order, by signing a document substantially in the form of
      Exhibit A.

   c. Outside Experts: Designated Material, including material designated
      “CONFIDENTIAL-ATTORNEYS’ EYES ONLY,” may be disclosed to an outside
      expert for the purpose of obtaining the expert’s assistance in the litigation.
      Before Designated Material is disclosed for this purpose, each such person must
      agree to be bound by this Order, by signing a document substantially in the form
      of Exhibit A.

   d. Counsel: Designated Material, including material designated “CONFIDENTIAL-
      ATTORNEYS’ EYES ONLY,” may be disclosed to counsel of record and in-
      house counsel for parties to this action and their associates, paralegals, and
      regularly employed office staff.

   e. Other Persons: Designated Material may be provided as necessary to copying
      services, translators, and litigation support firms. Before Designated Material is
      disclosed to such third parties, each such person must agree to be bound by this
      Order by signing a document substantially in the form of Exhibit A.


6.     Prior to disclosing or displaying any Designated Material to any person, counsel
shall:

       a. Inform the person of the confidential nature of the Designated Material; and

       b. Inform the person that this Court has enjoined the use of the Designated
          Material by him/her for any purpose other than this litigation and has enjoined
          the disclosure of that information or documents to any other person.

7.      The confidential information may be displayed to and discussed with the persons
identified in Paragraphs 5(b) and (c) only on the condition that, prior to any such display
or discussion, each such person shall be asked to sign an agreement to be bound by
this Order in the form attached hereto as Exhibit A. In the event such person refuses to
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sign an agreement in substantially the form attached as Exhibit A, the party desiring to
disclose the confidential information may seek appropriate relief from the Court.

8.      A person having custody of Designated Material shall maintain it in a manner that
limits access to the Designated Material to persons permitted such access under this
Order.

9.    Counsel shall maintain a collection of all signed documents by which persons
have agreed to be bound by this Order.

10.    Documents shall be designated by stamping or otherwise marking the
documents with the words “CONFIDENTIAL” or “CONFIDENTIAL-FOR ATTORNEYS’
EYES ONLY” thus clearly identifying the category of Designated Material for which
protection is sought under the terms of this Order. Designated Material not reduced to
documentary form shall be designated by the producing party in a reasonably
equivalent way.

11.  The parties will use reasonable care to avoid designating as confidential
documents or information that does not need to be designated as such.

12.     A party may submit a request in writing to the party who produced Designated
Material that the designation be modified or withdrawn. If the Designating Person does
not agree to the redesignation within fifteen business days, the objecting party may
apply to the Court for relief. Upon any such application, the burden shall be on the
Designating Person to show why the designation is proper. Before serving a written
challenge, the objecting party must attempt in good faith to meet and confer with the
Designating Person in an effort to resolve the matter. The Court may award sanctions if
it finds that a party’s position was taken without substantial justification.

13.    Deposition transcripts or portions thereof may be designated either (a) when the
testimony is recorded, or (b) by written notice to all counsel of record, given within ten
business days after the Designating Person’s receipt of the transcript in which case all
counsel receiving such notice shall be responsible for marking the copies of the
designated transcript or portion thereof in their possession or control as directed by the
Designating Person. Pending expiration of the ten business days, the deposition
transcript shall be treated as designated. When testimony is designated at a deposition,
the Designating Person may exclude from the deposition all persons other than those to
whom the Designated Material may be disclosed under paragraph 5 of this Order. Any
party may mark Designated Material as a deposition exhibit, provided the deposition
witness is one to whom the exhibit may be disclosed under paragraph 5 of this Order
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and the exhibit and related transcript pages receive the same confidentiality designation
as the original Designated Material.

14.    Any Designated Material which becomes part of an official judicial proceeding or
which is filed with the Court is public. Such Designated Material will be sealed by the
Court only upon motion and in accordance with applicable law, including Rule 5(e) of
the Local Rules of this Court. This Protective Order does not provide for the automatic
sealing of such Designated Material. If it becomes necessary to file Designated
Material with the Court, a party must comply with Local Civil Rule 5 by moving to file the
Designated Material under seal.

15.   Filing pleadings or other papers disclosing or containing Designated Material
does not waive the designated status of the material. The Court will determine how
Designated Material will be treated during trial and other proceedings as it deems
appropriate.

16.     Upon final termination of this action, all Designated Material and copies thereof
shall be returned promptly (and in no event later than forty-five (45) days after entry of
final judgment), returned to the producing party, or certified as destroyed to counsel of
record for the party that produced the Designated Material, or, in the case of deposition
testimony regarding designated exhibits, counsel of record for the Designating Person.
Alternatively, the receiving party shall provide to the Designating Person a certification
that all such materials have been destroyed.

17.   Inadvertent production of confidential material prior to its designation as such in
accordance with this Order shall not be deemed a waiver of a claim of confidentiality.
Any such error shall be corrected within a reasonable time.

18.     Nothing in this Order shall require disclosure of information protected by the
attorney-client privilege, or other privilege or immunity, and the inadvertent production of
such information shall not operate as a waiver. If a Designating Party becomes aware
that it has inadvertently produced information protected by the attorney-client privilege,
or other privilege or immunity, the Designating Party will promptly notify each receiving
party in writing of the inadvertent production. When a party receives notice of such
inadvertent production, it shall return all copies of inadvertently produced material within
three business days. Any notes or summaries referring or relating to any such
inadvertently produced material subject to claim of privilege or immunity shall be
destroyed forthwith. Nothing herein shall prevent the receiving party from challenging
the propriety of the attorney-client privilege or work product immunity or other applicable
privilege designation by submitting a challenge to the Court. The Designating Party
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bears the burden of establishing the privileged nature of any inadvertently produced
information or material. Each receiving party shall refrain from distributing or otherwise
using the inadvertently disclosed information or material for any purpose until any issue
of privilege is resolved by agreement of the parties or by the Court. Notwithstanding the
foregoing, a receiving party may use the inadvertently produced information or materials
to respond to a motion by the Designating Party seeking return or destruction of such
information or materials. If a receiving party becomes aware that it is in receipt of
information or materials which it knows or reasonably should know is privileged,
Counsel for the receiving party shall immediately take steps to (i) stop reading such
information or materials, (ii) notify Counsel for the Designating Party of such information
or materials, (iii) collect all copies of such information or materials, (iv) return such
information or materials to the Designating Party, and (v) otherwise comport themselves
with the applicable provisions of the Rules of Professional Conduct.


19.      The foregoing is entirely without prejudice to the right of any party to apply to the
Court for any further Protective Order relating to Designated Material; or to object to the
production of Designated Material; or to apply to the Court for an order compelling
production of Designated Material; or for modification of this Order; or to seek any other
relief from the Court.

20.    The restrictions imposed by this Order may be modified or terminated only by
further order of the Court.

                                                   IT IS SO ORDERED,



                                                   /s/ Victor A. Bolden
                                                   Victor A. Bolden
                                                   United States District Judge
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                                      EXHIBIT A


       I have been informed by counsel that certain documents or information to be
disclosed to me in connection with the matter entitled
                                       have been designated as confidential. I have
been informed that any such documents or information labeled “CONFIDENTIAL
PRODUCED PURSUANT TO PROTECTIVE ORDER” are confidential by Order of the
Court.

      I hereby agree that I will not disclose any information contained in such
documents to any other person. I further agree not to use any such information for any
purpose other than this litigation.




                                 DATED:


Signed in the presence of:


                                 (Attorney)
